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                                                                                      FILED
                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION                              1)'71
                                                                             lOIO ~UG 25 p I' Sq

 UNITED STATES OF AMERICA

                                                         Case No.' 3,OI-cr-138-20-HES-JRK
 v.

 SliAWN KENNETH RICHARDSON

         Defendant.
 _ _ _ _ _ _ _ _ _ _ _ _-----'1



                                               ORDER


         Before the Court is the Defendant's Motion to Run Concurrent Sentences (Doc. 554, filed

 August 11,2010), the Government's Response (Doc. 555, tiled August 24, 2010), and the

 Defendant's Motion To Award Jail Time (Doc. 556, filed August 23, 2010). In November 2009,

 the Defendant was sentenced to a term of fourteen (14) months imprisonment for a violation of

 his supervised release. (Sec Doc. 549). The judgment or revocation specifically articulated that

 "said tcnn ofimprisOlltl1Cnt is to run conseclltively with the defendant's tenn of imprisonment

 already imposed or yet to be imposed in any future sentence in Docket Number 2009-CF-4 791 A,

 in Duval CirclIit COllrt, Jacksonvillc, Florida." (Doc. 549, at p. 2)(cmphasis added).

         Additionally, this Court docs not have the authority to revicw the Defendant's calculation

 of gain time, as that is within the province orthe Board Of Prisons ("BOP"). In u.s. v. Lllcas,

 the Eleventh Circuit at'lirmed the district court's finding that it did not have the jurisdiction to

 review the BOP's calculations of gain time, noting that the Attorney General "properly delegated

 the authority for credit against sentence lor time in custody exclusively the BOP." 898 F.2d
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 1554, 1555 (11 th Cir. 1990). Further the court noted that, "the district court did not have

jurisdiction to consider the motion because the appellant failed to exhaust his administrative

 remedies." ld. Should the Defendant desire to challenge the method in which his gain time was

 applied to his current sentence, he is first required to do so administratively. Only upon the

 exhaustion of administrative remedies does this Court have jurisdiction to review the decision of

 the BOP. See Boz v. United States, 248 F.3d 1299, 1300-01 (11 th Cir. 2001).

        Therefore, it is ORDERED and ADJUDGED:

        1. Defendant's Motion to Run Concurrent Sentences (Doc. 554) is DENIED and

         2. Defendant's Motion to Award Jail Time Credit is also DENIED (Doc. 556).



 DONE AND ENTERED in Jacksonville, Florida, this~day of August, 2010.




Copies to:
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